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                 EXHIBIT D
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                                              F IR M R É SU MÉ
       Founded in January 2017, Moore Kuehn, PLLC, is a complex litigation law firm focusing
on plaintiffs. Moore Kuehn has counsel trained at major international law firms with broad
experience in a wide range of diverse subject matters including all aspects of civil litigation.
         Moore Kuehn has strong, long standing connections with large law firms, experts, and
consultants which provide the depth and experiences necessary to handle all aspects of any given
case with the utmost skill and expertise. Our founding partners have decades of experience
litigating securities class actions, derivative matters, and consumer rights class actions in various
state and federal courts, and, at their prior firms have been involved in some of the most notable
recoveries and cases of the past decade.


OUR PRACTICE
        As a litigation specialty law firm, we handle a variety of matters. We deal with every
aspect of a dispute in litigation from discovery through trial and appeal. The majority of the
practice areas we handle can be summarized in the following categories:

    •   Class Actions, Securities and Derivative Litigation

    •   Commercial Litigation

    •   Personal Injury

         A more substantive discussion of each of these areas follows. In order to provide a better
picture of the range of matters that we handle, each description is followed by a short list
illustrating some of the representative matters we have handled in that area. 1

Class Actions, Securities and Derivative Actions
        We have a strong practice litigating claims on behalf of consumers. These matters
include claims arising out of student loan servicing, consumer fraud, and other deceptive
practices. Our attorneys are also knowledgeable about many issues affecting the public,


1
 Any case marked with an * indicates it was worked on by one of Moore Kuehn’s founding partners at a firm they
were employed at prior to the founding of Moore Kuehn.
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including loyalty programs, the Americans with Disabilities Act, and consumer forced
arbitration.

        We have a growing securities litigation practice, particularly notable given our recent
founding and small size. We represent plaintiffs in securities fraud, mergers and acquisitions, and
other cases involving alleged corporate mismanagement, instituting derivative or securities class
actions.

                                       Representative Matters

   •   Chery v. Conduent Education Services, LLC, No. 1:18-cv-75 (N.D.N.Y. 2018). After
       successfully appealing under the Pennsylvania Right-to-Know Law, requiring the
       Pennsylvania Higher Education Assistance Agency to produce certain student loan
       records, we brought claims on behalf of a class against Conduent Education Services,
       LLC, f/k/a ACS (“ACS”), Access Group, Inc., and Access Funding 2015-1, LLC arising
       out of ACS’s failure to certify loan balances thereby thwarting Federal Direct
       Consolidation Loan Applications. On May 5, 2021 a class was certified in this matter
       and Moore Kuehn, PLLC was appointed as co-counsel to the Class. See Chery v.
       Conduent Educ. Servs., LLC, No. 1:18-CV-75, 2021 U.S. Dist. LEXIS 85577 (N.D.N.Y.
       May 5, 2021). On January 20, 2022, the class was awarded summary judgment on its
       claim for willful violation of N.Y. GBL § 349. Chery v. Conduent Educ. Servs., LLC, No.
       1:18-CV-75, 2022 U.S. Dist. LEXIS 10859 (N.D.N.Y. Jan. 20, 2022). This matter is still
       pending.

   •   Vukosavljevic v. Century 21 Department Stores, LLC, Case No. 20-1344 (Bankr.
       S.D.N.Y. 2020). Moore Kuehn, PLLC was appointed co-class counsel in a class action
       alleging violations of the WARN Act. Class counsel negotiated a $3.2 million settlement
       in favor of the class and union.

   •   In re Vroom, Inc. Shareholder Derivative Litigation, No. 21-cv-6933 (S.D.N.Y. 2021).
       Moore Kuehn, PLLC was appointed by the court as co-lead counsel in the consolidated
       derivative action on December 2, 2021. This matter is still pending.

   •   In re Ebix Inc. Shareholder Derivative Litigation, No. 21-cv-4380 (S.D.N.Y. 2021).
       Moore Kuehn, PLLC was appointed by the court as co-lead counsel in the consolidated
       derivative action on July 23, 2021. This matter is still pending.

   •   In re Activision Blizzard, Inc. Stockholders Litigation, No. 8885 (Del. Ch. 2013).*
       Derivative settlement on eve of trial for $275 million, by far the largest monetary
       settlement in the history of the Court of Chancery and the largest cash derivative
       settlement in the country. In addition, settlement provided significant corporate
       governance benefits to stockholders.


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   •   Sateriale v. R.J. Reynolds Tobacco Co., No. 09-8394 (C.D. Cal.).* After the Ninth
       Circuit reversed the district court’s dismissal of the complaint, and the trial court
       subsequently denied R.J. Reynolds Tobacco Co.’s (“RJR”) motion for summary
       judgment, certified a California class and denied RJR’s motions to reconsider. A
       settlement agreement, approved by the Court, was reached whereupon RJR agreed to
       reopen the Camel Cash loyalty program for a period of six months, allowing participants
       of the program to each redeem up to 3,000 C-Notes in exchange for non-tobacco
       merchandise commensurate to the non-tobacco products offered by RJR during the
       lifetime of the program. The parties also agreed that RJR would pay plaintiffs’ attorneys’
       fees and costs.


   •   Frederick J. Grede, not individually, but as Liquidation Trustee and Representative of
       the Estate of Sentinel Management Group, Inc. v. Cohen & Company Securities, LLC,
       et al.* Represented broker-dealer specializing in hybrid securities. The Liquidation
       Trustee alleged CCS sold Sentinel securities that were unsuitable for Sentinel and that
       CCS violated Section 10(b) of the Exchange Act and Rule 10(b)5 and made claims of
       aiding and abetting, breach of fiduciary duty, unjust enrichment and fraudulent
       transfer.

   • Hildebrand v. Dentsply International, Inc., No. 06-5439. (E.D. Pa. 2006).*
     Consumer class action representing putative class of dentists and periodontists
     asserting claims for breach of warranty and consumer fraud against major
     manufacturer of dental equipment.

Commercial Litigation
     Our attorneys handle both plaintiff and defense work encompassing all aspects of
commercial litigation in traditional forums and through alternate dispute resolution.

                                      Representative Matters

   •   Manhattan Review v. Yun, No. 14-4046 (2d. Cir. 2017). Represented entity appellee
       Manhattan Enterprise Group LLC (“MEG”) before the Second Circuit Court of Appeals
       in a matter concerning fee shifting under the Copyright and Lanham Acts. Moore Kuehn
       successfully argued and drafted responding brief for appeal regarding fee shifting
       standard under Lanhman and Copyright Acts before U.S. Court of Appeals for the
       Second Circuit. See Manhattan Review LLC v Yun, 919 F.3d 149 (2d Cir. 2019).

   •   Vingt Communications Ltd. v. Sony Music Entertainment, Case No. 18-cv-5327 (PKC)
       (S.D.N.Y. 2018). Defended third-party complaint filed again international musician in
       complex commercial dispute. Organized and participated in successful mediation in
       London, England involving parties from the U.S., Nigeria, and England.
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   •   Sinay v. Schwartzman, No. 17323/08 (Sup.Ct. Kings.Cnty. 2008). Represented
       defendant in a two-day traverse hearing ordered by the Appellate Division, Second
       Department. After the hearing it was held that defendant had not been properly served
       with process, resulting in a judgment of approximately $300,000 being vacated.

   •   Meissner v. Yun, No. 650913/2012 (Sup.Ct. Ny.Cnty. 2012). Represented entity
       counterclaimant in a complex partnership dispute.

   •   Louis Hopper v. Sooner Alarms, FST-CV-XX-XXXXXXX-S (Conn. Supr. Ct. 2016).
       Represented corporation to validate management election and establish certain member
       voting rights under Delaware Law.
Personal Injury

       Moore Kuehn focuses on all areas of personal injury litigation. Our personal injury cases
can concern a wide range of facts and claims, including dangerous products, defective drugs,
medical negligence, food contamination, unsafe work conditions, and automobile accidents.

                                      Representative Matters

   •   Seo v. Gregory, No. 712279/2017 (Sup.Ct. Qns.Cnty. 2017). Recovered full insurance
       policy limits of $489,291.12 to resolve motor vehicle accident lawsuit. We also obtained
       a reversal of denial of no-fault coverage resulting in an additional $50,000 of insurance
       coverage for our client.

   •   McGrath v. Landon, No. FBT-cv-6066966-S (Conn. Supr. Ct. 2017). Recovered
       $145,000 on behalf of two plaintiffs to resolve motor vehicle accident lawsuit.

   •   Bernshtein v. Chowdhury, et al., No. 190401744 (PA. Comm. Pl. Ct. 2019). Recovered
       fully insurance policy limits of $150,000 on behalf of plaintiff to resolve moto resolve
       motor vehicle accident lawsuit.
OUR ATTORNEYS

Fletcher Moore

Mr. Moore focuses his litigation practice in securities, commercial, and personal injury. He
has represented corporations and individuals in cases involving securities, director and
officer liability, partnership disputes, consumer class actions, contract disputes, and
permanent physical injuries.


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Mr. Moore has handled cases in state and federal courts across Connecticut, New York,
New Jersey, and Pennsylvania. He has also been extensively involved in pro bono matters
representing multiple prisoners in federal civil rights actions and indigent tenants in housing
court.

Mr. Moore has authored several legal articles on drug litigation, class actions and other
topics of current interest, which have been published nationally in Linex Systems, Product
Liability Law360, Health Lawyers Weekly, and HealthLaw360.

Before founding a law firm, Mr. Moore spent several years as an attorney with a large
international law firm.

Mr. Moore is a 2009 graduate of New York Law School, and a 2004 graduate of the University
of Connecticut.

Mr. Moore is admitted in the State, Commonwealth, and Federal courts of Connecticut, New
York, Pennsylvania, U.S. District Court for the Eastern District of Pennsylvania, U.S. District
Court for the Southern District of New York, and the U.S. District Court for the District of
Connecticut


Justin Kuehn

Mr. Kuehn has extensive experience in securities and consumer class actions, as well as,
corporate and complex commercial litigation matters. Prior to co-founding Moore Kuehn, Mr.
Kuehn spent the prior decade at top New York City litigation boutique Bragar, Eagel and Squire,
P.C. where he focused on class action, shareholder, and D&O lawsuits to hold corporations and
their agents responsible for securities law violations and breaches of fiduciary duties.

Mr. Kuehn has represented shareholders and creditor trusts in securities and derivative actions
against companies, their officers, and boards of directors to compel the adoption of corporate
governance reforms, and recover losses stemming from false statements, mismanagement, and
related party transactions. Mr. Kuehn previously worked on a record-breaking case that led to the
largest cash derivative settlement in the history of the Delaware Court of Chancery, the
preeminent forum for shareholder derivative litigation.

Mr. Kuehn has also pursued claims on behalf of student loan borrowers against some of the
largest banks and student loan servicers in the country for the mismanagement and erroneous
servicing of loans. Mr. Kuehn’s investigations into student loan servicers, received a broad
spectrum of media coverage, including by ABC News. Mr. Kuehn also spoke about this case at
the conference “Stacking the Debt: Consumer Rights in the Financial Marketplace,” held at
Russell Senate Office Building – U.S. Senate (honorary host: Senator Al Franken).



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In addition to representing plaintiffs in securities and other class action litigation, Mr. Kuehn has
defended companies and individuals in business tort matters with claims of defamation,
misrepresentation, breach of contract, unjust enrichment, and employment law violations.

Mr. Kuehn is a 2007 graduate of The George Washington University Law School. He received a
B.A. in Economics from Trinity College in 2004, where he was inducted into the Phi Gamma
Mu Social Sciences Honor Society.

Mr. Kuehn is admitted in New York State, the United States District Courts of the Southern,
Eastern, and Northern Districts of New York, and the Second Circuit Court of Appeals.




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